Case 5:17-cv-04579-CDJ                  Document 2            Filed 10/23/17           Page 1 of 1




                           united States District Court
                                        for the
                         Eastern District of Pennsylvania



 Edward Thomas Kennedy,
                   Plaintiff.

 v.                                                     Case Number 174579

 United States, et al.
                         Defendants.




                                        Notice

 1. Plaintiff requests this case to stop immediately, and apologizes to all.

 2. Plaintiff filed this prior to agreements made on October 18th 2017 and
 hereby withdraws the Complaint against all defendants, or simply requests this
 become a nonsuit
                                                                                                FILED
 3. Plaintiff has 11 years of seivice as a Papal Knight, Sacred Medical Order
                                                                                               OCT 2 3 2017
 Knights of HOPE, Hospitaller Order of Physicians & Ecclesiae, and 4 years of
                                                                                             KATE BARKMAN, Clerk
 service as an ordained Roman Catholic priest Eastern Rite. My title is Cheval!ier
                                                                                            By         Dep. Clerk
 Reverend.

 4. Plaintiff is scheduled to take the LSAT exam on December 2nd at Muhlenberg
 College in Allentown with the intent and expectation of attending Law School in
 Fall 2018 and sincerely respects the Pennsylvania Bar Association and its value
 to society and social stability. Forgive me please as I forgive all who intended to
 hurt me.



       v                           fl._
 Chev. Rev. Edward Thomas Kennedy, Plainti·
 kennedy2018@a1umni.nd.edu.
 address: 401 Tillage Road, Breinigsville, PA 18031
 Phone: 4152751244.
